
ON APPLICATION FOR ADMISSION TO THE BAR
PER CURIAM.*
I,The Committee on Bar Admissions (“Committee”) opposed the application of petitioner, Rusten A. May, to sit for the Louisiana Bar Examination based on character and fitness concerns relating to his failure to disclose his criminal history on his law school application. We subsequently granted petitioner permission to sit for the bar exam, with the provision that upon his successful completion of the exam, he apply to the court for the appointment of a commissioner to take character and fitness evidence. In re: May, 12-0026 (La.1/11/12), 77 So.3d 948.
Petitioner thereafter successfully passed the essay portion of the bar exam, and upon his application, we remanded this matter to the Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation and appointed a commissioner to take character and fitness evidence. Following a hearing in the matter, the commissioner filed his report with this court, recommending admission be granted. Neither petitioner nor the Committee objected to that recommendation.
Considering the commissioner’s recommendation, the absence of any objection from the Committee, and the entire record of this proceeding, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana.
ADMISSION GRANTED.

 Chief Justice Kimball not participating in the opinion.

